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               Nos. 22-2003, 22-2004, 22-2005, 22-2006, 22-2007,
                      22-2008, 22-2009, 22-2010, 22-2011


                                                IN THE
                   United States Court of Appeals
                        for the Third Circuit
                             ____________________

                         IN RE: LTL MANAGEMENT, LLC,
                                                                             Debtor
                             _______________________________________________________




                   *OFFICIAL COMMITTEE OF TALC CLAIMANTS
                                                                              Appellant

                 *(Amended per Court’s Order dated 06/10/2022)
                             ____________________
             On direct appeal from the United States Bankruptcy Court
       for the District of New Jersey, No. 21-30589, Adv. Proc. No. 21-3023
                              ____________________
                      BRIEF FOR DEBTOR-APPELLEE
                           ____________________
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    August 15, 2022
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       Of course, Old JJCI could not just saddle LTL with its talc-related debts,

give New JJCI all of its assets, and call it a day. Old JJCI made sure that LTL had

the same, if not a greater, ability to resolve present and future talc claims. A450.

LTL, New JJCI, and J&J entered into a funding agreement whereby New JJCI

would pay the administrative costs in LTL’s contemplated bankruptcy case and

any talc-related-liability costs after LTL exhausted its own assets, up to New

JJCI’s estimated $61 billion full enterprise value. A450-456, 105-127. And

though the agreement sets a floor of Old JJCI’s enterprise value at the time of the

divisional merger, the agreement’s value is expected to increase as New JJCI’s

value increases post-restructuring. A5-6 & n.5, 3085-87, 4232, 4235, 4316, 4319.

J&J and New JJCI also agreed to advance a total of $2 billion into a qualified

settlement fund for the exclusive payment of talc claims. A454-455.

III.   PROCEDURAL HISTORY

       On October 14, 2021, LTL filed for chapter 11 relief in the Western District

of North Carolina. A291. LTL also commenced an adversary action against

Claimants seeking confirmation that the automatic bankruptcy stay applies to talc

claims asserted against LTL’s affiliates—including J&J and New JJCI—as well as

LTL’s insurers and third-party retailers, or entry of a preliminary injunction

enjoining those claims. A3798.




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      Finally, claimants make a host of arguments directed at the perceived

injustices of bankruptcy proceedings that haven’t happened yet. Claimants

suggest, for example, that LTL’s proposed bankruptcy plan will not pay them

enough. But “[m]any statutory prerequisites designed to ensure fairness must be

met before a trust is formed and a channeling injunction entered under § 524(g).”

W.R. Grace I, 900 F.3d at 130. Chief among them is that claimants “must approve

of any plan employing a § 524(g) trust by a 75% super majority.” A32; see 11

U.S.C. § 524(g)(2)(B)(ii)(IV)(bb). LTL has a strong incentive to negotiate a plan

that will receive strong support from Claimants; if the bankruptcy fails, LTL will

be forced to return to the tort system on future claims.

      Some claimants and the U.S. Trustee vaguely suggest either that the funding

agreement was a fraudulent conveyance or that some future conveyance may place

assets out of LTL’s creditors’ reach. See U.S. Trustee Br. 21; TCC Br. 33. This

was one of Claimants principal arguments below, but they now all but abandon it.

That is likely because the funding agreement is plainly not fraudulent, because

there is no question that LTL will satisfy its obligations, and, most importantly,

because this is a question that can be resolved through an adversary proceeding if

there are any colorable claims to be made on LTL’s behalf. See 11 U.S.C.



successor in interest to Old JJCI and, consequently, Debtor substitutes for Old JJCI
in all federal actions as a matter of law.” A29.

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§ 544(b); Buncher Co. v. Official Comm. of Unsecured Creditors of Genfarm Ltd.

P’ship IV, 229 F.3d 245, 250 (3d Cir. 2000) (“The purpose of fraudulent

conveyance law is to make available to creditors those assets of the debtor that are

rightfully a part of the bankruptcy estate, even if they have been transferred

away.”). Claimants have had the opportunity to seek to unwind the funding

agreement as a fraudulent transfer, but have conspicuously declined to do so. The

same goes for any hypothetical future transfer by LTL, New JJCI, and J&J. See

A4325 (New JJCI and J&J submitting themselves to bankruptcy court jurisdiction

to enforce the funding agreement). The Bankruptcy Court will always have

jurisdiction to protect against fraudulent conveyances.

      Claimants object that funding will be “largely unavailable until there is a

confirmed plan after appeals are exhausted.” TCC Br. 22; see also A&I Br. 21.

That is also true of tort suits: Defendants typically post a bond to secure any

judgment entered against them and do not pay until appeals are exhausted. See,

e.g., Fed. R. Civ. P. 62(b). Claimants’ objection to this feature of the funding

agreement is an objection to a feature of tort litigation outside of the bankruptcy

system.

      Claimants also suggest that LTL will seek to “pressur[e] claimants to settle

by threatening” to delay the bankruptcy proceedings. A&I Br. 16; see also TCC

Br. 49. But Claimants do not cite any evidence of LTL using the bankruptcy



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